Case 1:18-cr-20337-CMA Document 3 Entered on FLSD Docket 04/27/2018 Page 1 of 11
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 IN TH E M AT TER O F SEA LED
 C RIM INA L IN DICTM E NT

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                               C R IM IN A L C O VE R SH E ET


       Did this m atter originate from a m atter pending in the N orthern Region of the U nited
       StatesA ttorney'sO ffice priorto October 14,2003?                 Yes      X      No

 2.    Did thism atteroriginate from a m atterpending in the CentralR egion ofthe United States
       A ttorney's Office priorto Septem ber 1,2007?                Y es      X     No


                                           Respectfully subm itted,

                                           BEN JA M IN G .G REEN BERG
                                           UN ITED S           TORN EY


                                     y:
                                           SEAN T. CLA U G LI
                                           A SSIST N   ITED TA TE                        TTO RN EY
                                           Court111No.A 01121'
                                                    h Street,8          or
                                           M iam i,FL 33132
                                           Phone:(305)961-9013
Case 1:18-cr-20337-CMA Document 3 Entered on FLSD Docket 04/27/2018 Page 2 of 11



                           U N ITE D STA TES DISTRIC T C O U R T
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                               CASE NO    .
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                                              18 . . .j241
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 UNITED STATES OF AM ERICA                                                                     JGOODMAN


 A N TW A N LE NA R D JO H N SO N ,

                       D efendant.
                                               /

                                        IN DIC TM EN T

        The Grand Jury chargesthat:

                                 G EN ER AL A LLEG A TIO N S

        A talltim esrelevantto this lndictm ent:

                TheFloridaDepartmentofJuvenileJustice(hereinafterCTDJJ'')wasadepartment
 withintheStateofFloridaresponsibleforoperatingandoverseeingdetention centersforjuvenile
 detaineesthroughoutFlorida,including the Southern D istrictofFlorida.

                The M iami-Dade RegionalJuvenile Detention Center (hereinafter ççthe JDC''),
 located atornear 3300 NW 27th Avenue,M iami,Florida,was a juvenile detention center
 operatedbytheFDJJandincarceratedjuvenileinmatesinnumericallyassignedunits(hereinafter
 ççmodules'')
        3.      JDC modules,which securedapproximately 20juvenilesatanygiven time,were
 com prised ofa centralcom m on area containing a television,telephone,and chairs,and contained

 variousinm ate cells lined along theperim eter.
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                 Upon arlival at the JDC,juveniles underwent an admissions and orientation
 process, which included m edical screening, notice as to the JDC 'S rules and regulations and

 written acknow ledgem ent that, am ong other m isconduct, uncontrolled behavior, fighting, and

 anythreatofphysicalviolenceonotherjuvenileswasprohibited.
                 Juvenile detention officers atthe JDC w ere em ployees ofthe State ofFlorida,and

 am ong other duties,were assigned,in pairs,to a designated m odule per each eight-hour work

 shiftand pursuantto the JD C'S Facility Operating Procedures and Florida Adm inistrative Code

 Rules 636-2.013-026,w ere responsible for directly supelwising and providing a safe and secure

 environmentforjuvenilesintheircustodyandcare.
        6.       Thework schedule forjuvenile detention ofticersatthe JDC wascomprised of
 three(3)differenteight-hourshifts:Alpha Shiftwasfrom approximately 7:00 a.m.to 3:00pm.,
                                                                                       '
 Bravo Shift w as from approxim ately 3:00 p.m . to 11:00 p.m .; and Charlie Shift w as from

 approxim ately 1l:00 p.m .to 7:00 a.m .

                 Pursuant to Chapter 1.09 of the JDC 'S Facility Operating Procedures, including

 FloridaAdministrative Code Rules636-2.013-026,juvenile detention officerswere prohibited
 from:verballyabusing,demeaning,andotherwisehumiliatingjuveniles'
                                                                ,usingprofanity,threats,
 intimidation,humiliation, and inappropriate physical contact with juveniles;and soliciting
 personal relationships with juveniles, including engaging in casual,friendly,and personal
 interactions.

        8.       Pursuant to Chapters 2.06 and 5.03 of the JDC 'S Facility O perating Procedures,

 including Florida Administrative Code Rules63G-2.013-026,juvenile detention officerswere
 also prohibited from :administering group punishmentand corporalpunishmenton juveniles'
                                                                                       ,
Case 1:18-cr-20337-CMA Document 3 Entered on FLSD Docket 04/27/2018 Page 4 of 11



 hazing juveniles; cursing atjuveniles;providing any juvenile and group ofjuveniles with
 authorization to imposedisciplinary sanctionsoveranotherjuvenile'
                                                                 ,and allowing anyjuvenile
 andgroup ofjuvenilestodisciplineandhaveauthorityoveranotherjuvenile.
        9.     OnoraboutAugust28,2015,E.R.,aseventeen (17)year-old male,arrived atthe
 JDC and w as assigned to M odule 9 asa pre-trialdetainee.

        10. On oraboutAugust30,2015,M odule 9 contained approximately twenty (20)
 malejuvenilesbetweenfourteen(14)and eighteen (18)yearsofage,includingE.R.
               On or aboutAugust 30,2015,ANTW AN LENARD JOHNSON,a juvenile
 detention officeratthe JD C,w as assigned to M odule 9 forthe Bravo Shift.

        12.    O n or about August 31, 2015, E.R. w as transported from the JD C to Holtz

 Children's H ospital in M iam i, Florida, and at approxim ately 11:17 p.m . w as pronounced

 deceased.

                                        COUNT ONE
                             C O N SPIR ACY A G A INST R IG H T S
                                           18U.S.C.j241
               Paragraphs 1 through 12 of the General Allegations section are re-alleged and

 incorporated fully herein by reference.

        2.     Beginning on or about A ugust 30, 2015, and continuing through on or about

 A ugust31,2015,in M iam i-Dade County,in the Southern D istrictofFlorida,the defendant,

                               AN TW A N LENA R D JO H NSO N ,

 acting under color of law , and w ith other persons know n and unknow n to the Grand Jury,

 willfully combined,conspired,andagreed toinjure,oppress,threaten,and intimidateE.R.inthe
 freeexerciseandenjoymentofaright,securedandprotectedbytheConstitution and lawsofthe
Case 1:18-cr-20337-CMA Document 3 Entered on FLSD Docket 04/27/2018 Page 5 of 11



 United States,nam ely,the right secured to pretrial detainees by the Due Process Clause to be

 free from theuse ofunreasonable forceby a person acting under colorof law .

          ltis furtheralleged thatthe acts com m itted in violation ofthe offense resulted in E.R .'S

 death.

                               PU R PO SE O F TH E C O N SPIM C Y
          ltwas the purpose ofthe conspiracy forthe defendant,acting undercolor oflaw ,and his

 co-conspiratorsto useunreasonableforce,including through forcibleassault,to injure,oppress,
 threaten,andintimidateE.R.inthefreeexerciseandenjoymentofarightsecuredandprotected
 by the Constitution and law s ofthe U nited States.

                        M A NN ER A ND M EA N S O F TH E C O N SPIM C Y
          The m anner and m eans by which the defendant and his co-conspirators sought to

 accomplish the objects and purpose of the conspiracy,included, among other things,the
 follow ing:

          3.     Ascommonlyutilizedbyotherjuveniledetention officersattheJDC,ANTW AN
 L ENA RD JO H N SO N operated a bounty system in order to help ensure obedience and oftk er

 respect. By and through this bounty system , A NTW A N LENA RD JO H N SO N caused,

 encotlraged,andinducedjuveniledetainees,in exchange forrewardsand privileges,to forcibly
 assault E.R. as a result of E.R.'S statem ents and behavior, including tow ard A N TW AN

 LENA RD JO H N SO N .

          4.     A N TW A N LEN A RD JO H N SO N used coded language,such as 'toff m y face,''

 and non-verbalgestures,including''nodsn''to signalthathewanted thejuvenilesto attack E.R.
 A NTW A N LENA R D JO H N SO N provided,and caused to be provided,rew ards and privileges

 tojuvenileswhoparticipatedintheofficer-directedattackon E.R.,which included,butwerenot
Case 1:18-cr-20337-CMA Document 3 Entered on FLSD Docket 04/27/2018 Page 6 of 11



 lim ited to,extra recreationaltim e and snacks. A dditionally,A N TW A N LENA R D JO H N SO N

 provided,andcausedtobeprovided,snackstojuvenileswhoparticipatedin theofficer-directed
 attack on E.R. in their assigned cells, including on different days and shifts and w ith the

 assistanceofotherjuveniledetention officers.
                A s a resultofbeing aw are,and at other tim esprior victim s,ofthe bounty system

 atthe JDC,juveniles knew thatthey would notbe punished and disciplined by ANTW AN
 LENA RD JO H N SO N . Juveniles w ere also aw are that failure to participate in the officer-

 directed attack on E.R .could resultin being targeted for future bounties and otherm istreatm ent

 atthe JD C .

        6.      Based on E.R.'S statem ents and behavior during dinner at the JD C cafeteria,

 ANTW AN LENARD JOHNSON communicated,in words and gestures,to juvenilesthathe
 wantedthem to forciblyassaultE.R.Variousjuvenilesagreed,including in wordsand gestures,
 to forcibly assaultE.R.atA NTW A N LENA R D JO H N SO N 'S direction. A N TW AN LE NA RD

 JO H N SO N also caused E.R.to fear for his im m ediate safety and stand aw ay from the other

 juvenilespriorto,andwhilereturning,from theJDC cafeteriatoM odule9.
                ANTW AN LENARD JOHNSON directedjuvenilesto delay theattack on E.R.
 untilthey a1lreturnedto Module9.Upon retumingtoandenteringM odule9with thejuveniles,
 A NTW A N LE NA RD JO H N SO N prom ptly w alked tow ard and into a supply closet,which was

 away from hisdirectview ofE.R.and the otherjuveniles. ln and around this same time,a
 juvenile punched E.R.in the face asE.R.attempted to sitdown in a chair. Numerous other
 juvenilesimmediatelyjoinedthe attack and punched and kicked E.R.,includingwhileE.R.was
 lying on the g'
               round.
Case 1:18-cr-20337-CMA Document 3 Entered on FLSD Docket 04/27/2018 Page 7 of 11



                A fter E.R . w as escorted out of M odule 9 to the JDC m edical departm ent,

 ANTW AN LENARD JOHNSON causedthejuvenilesin M odule9,whohad allbeen lockedin
 theircellsforapproximately four(4)minutes,to bereleased from theircellsin orderto watch
 television as a reward and plivilege. ln and around this sam e tim e, A N TW A N LENA R D

 JOHNSON also acknowledged and bumped fiststogetherwith thejuvenile who initiated the
 attack on E.R. ANTW AN LENARD JOHNSON also latercaused certain M odule9juveniles
 to receive snacks as a rew ard and privilege forparticipating in the attack on E.R .

                                          O V ER T A CT S
        ln furtheranceoftheconspiracy,andtoaccomplishitsobjectives,thefollowing overacts,
 am ong others,were com m itted,and caused to be com m itted,in the Southern D istrictofFlorida:

                On or aboutAugust30,2015,A NTW A N LEN A RD JO H N SO N com m unicated,

 inwordsandgestures,tojuvenilesthathewantedthem toforciblyassaultE.R.
        2.      On or aboutA ugust 30,2015,at AN TW A N LEN A RD JO H N SO N 'S direction,

 oneormorejuvenileco-conspiratorsforciblyassaultedE.R.
        3.      On or about A ugust 30, 2015, A N TW AN LE NA R D JO H N SO N caused

 juveniles,including one ormorejuvenile co-conspirators,to be released from theircellsas a
 reward and privilege forparticipating in the attack on E.R .

                O n or about August 30, 2015, A N TW A N LEN AR D JO H N SO N perm itted

 juveniles,including one ormorejuvenileco-conspirators,to watch television asareward and
 privilege forparticipating in the attack on E.R.

        5.      O n or about August 30,2015,A NTW A N LEN A RD JO H N SO N caused one or

 morejuvenileco-conspiratorstoreceivesnacksasarewardandprivilegeforparticipating inthe
 attack on E.R .
Case 1:18-cr-20337-CMA Document 3 Entered on FLSD Docket 04/27/2018 Page 8 of 11



               On or aboutA ugust 31,2015,A N TW A N L ENA R D JO H N SO N caused one or

 morejuvenileco-conspiratorsto receivesnacksasaI'eward andprivilegeforparticipating inthe
 attack on E.R.

        A llin violation ofTitle 18,United StatesCode,Section 241.


                                        C O U NT TW O
                  D EPR IV A TIO N O F R IG H TS U ND ER C O LO R O F LA W
                                           18U.S.C.j242
               Paragraphs 1 through 12 of the General Allegations sedion are re-alleged and

 incom orated fully herein by reference.

               On or aboutA ugust30,2015,in M iam i-D ade County,in the Southern D istrictof

 Florida,the defendant,

                               A N TW AN LEN AR D JO H N SO N ,

 while acting undercoloroflaw ,and while aiding and abetting others know n and unknown to the

 Grand Jury, willfully deprived E.R .of a right, secured and protected by the Constitution and

 law s of the United States,nam ely,the right secul-ed to pretrial detainees by the Due Process

 Clause to be free from the use of unreasonable force by a person acting under color of law ,in

 violation ofTitle 18,U nited States Code,Sections 242 and 2.
 Case 1:18-cr-20337-CMA Document 3 Entered on FLSD Docket 04/27/2018 Page 9 of 11



                ItisfurtherallegedthattheoffenseresultedinbodilyinjurytoE.R.andresulted inE.R.'S
  death.

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         u--e
                           UNITED STATES DISTRICT COURT
  Case 1:18-cr-20337-CMA Document 3 Entered
                           SOUTHERN  DISTRICTon
                                              O FFLSD Docket
                                                  FLORI
                                                      DA     04/27/2018 Page 10 of 11

UNITED STATES OF AM ERICA                                                j            - 0
VS.

ANTW AN LENARD JOHNSON,
            Defendant.
                                                      CERTIFI
                                                            CATEOFTRI
                                                                    ALATTOù v
                                              /       Superseding Case Inform ation:
CourtDivision:(sel
                 ectone)                              New Defendantts)                 Yes           No
                                                      NumberofNew Defendants
 X         Miami                                      Totalnum berofcounts
           FTL                W
                              Ke)BWest        FTp
           ldo hereby certifythat:
                      Ihave carefully considered the allegationsofthe indictment,thenumberofdefendants,the numberof
                      probable witnesses and the legalcom plexi ties ofthe lndictm ent/lnform ation attached hereto.
           2.         Iam aware thatthj information supplied oq this jtqtem eqtwillbe relied upon by the Judges ofthis
                      Courtin setting thelrcal:ndars and schedullng crlm lnaltrlals underthe mandate ofthe SpeedyTrial
                      Act,Ti
                           tl
                            e 28 U.S.C.Sectlon 3161.
                       Iqterpreter:   (YesqrNo)         No
                       LlstIanguage and/ordlalect
           4.         This case willtake      11-20 days forthe partiesto try.
           5.          Please check appropriate category and type ofoffense Iisted below:
                      (Checkonl
                              yone)                                  (Checkonlyone)
                      0 to 5 days                                             Petty
                      6 to 10 days                                            Minor
                      11 to 20 days                                           Misdem .
                      21 to 60 days                                           Felony           X
                      61 days and over
           6.         Hasthiscasebeenpreviouslyfiled inthisDi
                                                            strictCourt? (YesorNo)             No
           Ifyes:
           Judge:                                             Case No.
           (Attachcopy9fdispositive?rdeq)
           Hasacomplalntbeenfiled lnthlsmatter?               (YesorNo)          No
           lfyej:
           Maglstrate Case No.
           Related Miscjllaneous numbers:
           Defendantls)Infederalcustodyasof
           Defendantts)instate custodyasof
           Rule 20 from the
           Isthi
               sa potentialdeathpenal
                                    tycase? (YesorNo)                No
                       Dges this case originate from a matterpending in the Northern Regi
                                                                                        on ofthe U.S.Attorney's Offi
                                                                                                                   ce
                       prlorto October14,2003?        Yes      x     No

                       Dges this case originate from a matterpending i e              R ' ofthe U.S.Attorney's Office
                       prl
                         orto September1,2007?          Yes    x       o



                                                              SEAN T.Mc UG HL       -
                                                              ASSIST T    ITED S ATES ATT           NEY
                                                                urtN .A550 21

'PenaltySheetts)attached                                                                             REV 4/8/08
Case 1:18-cr-20337-CMA Document 3 Entered on FLSD Docket 04/27/2018 Page 11 of 11



                           UN ITED STA TES D ISTR ICT C O UR T
                           SO U TH E RN DISTR IC T O F FLO RID A

                                     PENA LTY SH EE T

  Defendant's N am e:A NTW A N LENA R D JO H N SO N

  Case N o:

  Count#:l



  Title 18.United StatesCode,Section 241

  * M ax.Penalty: Life lm prisonm ent

  Count#:2

  Deprivation ofRightsUnderColorofLaw

  Title 18sU nited StatesCode.Section 242

  * M ax.Penalty: Life lm prisonm ent




   SêR efers only to possible term ofincarceration,does notinclude possible fines,restitution,
             specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
